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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)



         NOTICE OF FILING OF LIMITED OMNIBUS OBJECTION OF MDL FTX
          CUSTOMERS TO PROFESSIONALS’ MONTHLY FEE STATEMENTS
                                                                                               2
       PLEASE TAKE NOTICE that counsel to the MDL FTX Customers served the Limited
Omnibus Objection of MDL FTX Customers to Professionals’ Monthly Fee Statements (the
“Objection”), a copy of which is attached hereto as Exhibit 1, on the professional listed therein.

        PLEASE TAKE FURTHER NOTICE that the Debtors intend to include the Objection
and any responses thereto on the agenda for the omnibus hearing scheduled for August 15, 2024
at 1:00 p.m. (ET) so it can be heard by the Court at such hearing.



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1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2   The MDL FTX Customers are defined in the Objection as Alexander Chernyavsky, Brandon Orr, Chukwudozie
    Ezeokoli, Edwin Garrison, Gregg Podalsky, Julie Papadakis, Kyle Rupprecht, Leandro Cabo, Michael Livieratos,
    Michael Norris, Ryan Henderson, Shengyun Huang, Sunil Kavuri, and Vijeth Shetty. The FTX Customers are
    also the named plaintiffs in the multi-district litigation matter captioned In re FTX Cryptocurrency Exchange
    Collapse Litigation, Case No. 23-md-03076, pending in the U.S. District Court for the Southern District of
    Florida, and defendants in Adversary Proceeding No. 24-50012.



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